

Matter of Marcelle v Marcelle-Morrison (2018 NY Slip Op 04322)





Matter of Marcelle v Marcelle-Morrison


2018 NY Slip Op 04322


Decided on June 13, 2018


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on June 13, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

WILLIAM F. MASTRO, J.P.
MARK C. DILLON
JEFFREY A. COHEN
ANGELA G. IANNACCI, JJ.


2016-13337
 (Docket Nos. V-27627-15, V-27628-15)

[*1]In the Matter of Joyce Marcelle, petitioner, 
vKimina J. Marcelle-Morrison, etc., respondent, Richard Charles Morrison, respondent-respondent; Jalen M. (Anonymous), et al., nonparty-appellants.


Karen P. Simmons, Brooklyn, NY (Janet Neustaetter and Barbara H. Dildine of counsel), for nonparty-appellants.
Robert Marinelli, New York, NY, for respondent-respondent.
In a proceeding pursuant to Family Court Act article 6, the appeal is from an order of the Family Court, Kings County (Sharon A. Bourne-Clarke, J.), dated November 15, 2016. The order, after a hearing, dismissed the petition of the maternal grandmother for custody of the subject children.



DECISION &amp; ORDER
By order to show cause dated January 31, 2018, the Children's Law Center and counsel for the father were directed to show cause before this Court why an order should or should not be made and entered dismissing the appeal.
Upon the order to show cause, and upon the argument of the appeal, it is
ORDERED that the motion to dismiss the appeal is granted; and it is further,
ORDERED that the appeal is dismissed, without costs or disbursements.
The Children's Law Center had no authority to file a notice of appeal, or to appear, on behalf of the children, Jalen M. and Kai M., as the Children's Law Center was relieved as attorney for the children on November 15, 2016.
MASTRO, J.P., DILLON, COHEN and IANNACCI, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








